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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


UNITED STATES OF AMERICA                       :
                                               :      Case No: 2:23-mj-522
                                               :
    v.                                         :
                                               :
JEREMIAH MORRISON                              :      MAGISTRATE JUDGE
                                               :

              JOINT MOTION FOR EXTENSION OF TIME DURING WHICH
                    INDICTMENT/INFORMATION MUST BE FILED


         Now come the parties, through their undersigned attorneys, and move this Court for an

order extending the time for the return of an indictment or information, pursuant to 18 U.S.C. §

3161(b), from October 20, 2023 to December 19, 2023. The defendant, Jeremiah Morrison is

aware of his right to timely filing of an indictment or information, afforded to him under 18

U.S.C. § 3161(b), and hereby waives that right for the purposes of this motion. The parties

believe this continuance would best serve the interests of justice and that the time would be

excludable pursuant to 18 U.S.C. § 3161(h)(7)(A).

         The government has tendered initial discovery materials to counsel for the defendant, and

the parties have initiated discussions regarding the potential of pre-indictment resolution of this

matter. Due to the nature of the charges, review of all child exploitation material and obscenity

material must be done at a law enforcement office or at the office of the government. The

defendant has expressed an interest in maintaining the option of resolving this matter pre-

indictment as this process takes place, and the parties believe such resolution is a possibility.

The parties have and will continue to exercise due diligence in reaching a prompt resolution of

this matter, and are in agreement that an approximately 60-day continuance of the time for
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indictment would best serve the interests of justice and would not impinge on the interest of the

public in a speedy trial, as pre-trial resolution will conserve significant resources by eliminating

the need to expend grand jury and potentially trial jury time. Thus, the time would be excludable

pursuant to 18 U.S.C. § 3161(h)(7)(A).

       For these reasons, the government, defense counsel and the defendant jointly request an

extension of the time within which an indictment or information may be filed in this case until

December 19, 2023.

                                                      Respectfully submitted,

                                                      KENNETH L. PARKER
                                                      United States Attorney



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